                                    IN THE UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF VIRGINIA
                                         CHARLOTTESVILLE DIVISION

                                 CRIMINAL MINUTES - GUILTY PLEA HEARING

Case No.: 3:18CR00011-001                    Date: 3/27/2019

Defendant: James Alex Fields, Jr. - custody                          Counsel: Lisa Lorish, Fred Heblich, FPD

PRESENT:          JUDGE:                     Michael F. Urbanski, CUSDJ        TIME IN COURT: 2:59-3:54 55 minutes
                  Deputy Clerk:              Kristin Ayersman
                  Court Reporter:            Sonia Ferris
                  U. S. Attorney:            Chis Kavanaugh, Risa Berkower, Thomas Cullen
                  USPO:                      Larry Breckenridge, Brittany Warren
                  Case Agent:                Phil Aulhusen, Wade Douthit
                  Interpreter:               none

PROCEEDINGS:

          Waiver of Indictment filed.
          Information filed.
          Plea Agreement filed with court; SOF filed with the court.
          Defendant advised of right to have U. S. District Judge accept plea. Defendant waives this right, and executes
          Consent to Allow U. S. Magistrate Judge to accept plea
          Defendant re-arraigned as to Counts Enter counts to which pleading guilty
          Defendant placed under oath. Court questions defendant regarding his/her physical and mental condition, and
          advises defendant of his/her rights, and the nature and possible consequences of plea.
          Court accepts plea of guilty.
          Guilty plea form executed and filed.
          Government summarizes evidence to support plea and rests.
          Court finds defendant guilty as charged in Counts One through Twenty-Nine, inclusive.
          OR
          U. S. Magistrate Judge accepts plea of guilty to Counts enter counts to which defendant pled guilty and will
          recommend that the U. S. District Judge find the defendant guilty of said counts.

DEFENDANT PLEADS:
(list counts)


   DEF. #              GUILTY                NOT GUILTY              NOLO                      REMARKS
              1-29, inclusive
      1

      2

      3

      4

          Court orders Presentence Report.
          Copy of Presentence Report not requested.
          Defendant to remain on bond.
          Defendant remanded to custody.
          Sentencing hearing scheduled for 7/3/19 @ 9am before Chief Judge Michael F. Urbanski in Charlottesville
          Division.




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Additional Information:
Court asks the US to address the death penalty. Thomas Cullen, US Atty - advises that the AG has directed that the US not
        seek the death penalty in this case against the defendant conditioned upon the dft entering a GP in this case and has a
        letter dated 3/22/19 to that effect, which will be submitted to the court. Court directs clerk to enter this on the record
        as either an exhibit to this hearing or as a separate docket entry.




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